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CHAPTER 13 BANKRUPTCY RETAINER AGREEMENT

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The undersigned person(s), hereinafter called “Client”retains THE BANKRUPTCY RESOURCE CENTER. The
Bankruptcy Resource Center, hereinafter called “Attorney”, shall represent Client in a petition under 11 U.S.C.

CHAPTER 13. Client will pay Attorney a legal feeof$__ f © COC | the filing fee andcostsof$ COS | fora total
of $ [OCLo , payable as follows:

CLIENT (S):

 

we AMOUNT OF FEE PAYABLE PRIOR TO FILING PETITION: § SILG

** BALANCE OF FEE PAYABLE THROUGH PLAN: § “TSG
AMOUNT DATE
ay- .
1, Opening of file (initial deposit) 3 INOC _ en lis

Client understands that if the fees are not paid in full, unless Attorney agrees in writing to reschedule payment or amount.
the petition shall not be filed, and all monies paid to that date are forfeited with the file being closed without refund and
no further action taken or service rendered by Attorney. Further, Client understands that out of the above referenced
sums paid and to be paid, the last s bs of the total sum owed will be allocated to the filing fees and costs.

Client understands that the fee consists only of pre-filing office consultations and creditor calls in connection with the
Chapter 13 bankruptcy proceeding, the preparation and filing of the Chapter 13 Bankruptcy petition and attendance at
the initial Section 341 meeting of creditors, and when necessary one Confirmation hearing. If Client fails to appear at
the Section 341 Meeting and/or fails to provide documents to the Trustee, when required, which necessitates a
continuance of the Section 341 Meeting andor Confirmation hearing, the client may be required to pay additional fees
at the rate of $550.00 per hour. Ifa check is returned for insufficient funds or any other reason, the fee is $50.00. (Fees
are subject to change)

Should Chent begin making his/her payments to the Chapter 13 Trustee and fail to remain current at or before any
Confirmation hearing or the case is otherwise not Confirmed, client agrees that the amount of money held by the Trustee
will be used to pay any outstanding attorney fee pursuant to the retainer agreement.

Should one of the creditors be a governmental agency regarding taxes , the Attorney does not assume the responsibility
for obtaining the information necessary to determine wether the debt is dischargeable. It is the sole responsibility of the
Client to obtain said information.

If IS THE CLIENT(S) RESPONSIBILITY TO PROVIDE INCOME TAX RETURNS FOR EACH YEAR,
PERSONAL AND BUSINESS, WHICH SHALL BE GIVEN TO THIS OFFICE IMMEDIATELY UPON
FILING OF THAT RETURN WHILE YOU ARE IN BANKRUPTCY. IF YOU FILED AN EXTENSION, THEN
THE EXTENSION SHALL BE PROVIDED TO THIS OFFICE AND THE RETURN(S) WILL BE PROVIDED
WHEN IT IS FILED WITH THE IRS.
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Student loans are non-dischargeable unless the court determines Client has an undue hardship and will not have to repay
the loan. Client understands that payments on student loans are not allowed during the pendency of their Chapter 13 Plan.
The filing of the lawsuit to determine whether there is an undue hardship will require an additional attorney fee.

Representation of the debtors in any dischargeability actions, judicial lien avoidances, including 522 (f) motions, relief
from stay actions or any other adversary proceedings and state court proceedings are not included. The above fee does
not include any motion to sell property, either real or personal, motions to clear real estate title, motion for reinstatement
and rehearing, motions to purchase automobiles, or representation with any objection to claimed exemptions or
objection to discharge or dischargeability . The initial fee does not include any fee for motion to modify the debtors
Chapter 13 Plan. The debtor has agreed to pay counsel for the Debtors for all additional work preformed at the rate of
$550.00 per hour. This fee does not include appearance at any Section 2004 examinations or any other items not
included above.

Attorney is authorized to appear in any action he considers necessary and proper to protect Client’s interest in connection
with the Bankruptcy. However, it is understood that there are no warranties regarding a successful outcome or the length
of time required to conclude a matter, and that any representations made by Attorney or his staff are opinion only. Client
is employing Attorney for his services and no specific result is guaranteed.

Clients have been advised by Attorney, that as of the date of the retainer agreement, Clients ARE NOT to use any credit
cards, and that using them may cause those additional changes to be determined as non-dischargeable. Client understands
that Client MUST notify this office of any change of address or telephone so as to keep an open line of communication
between Attomey and Client

Client must also notify Attorney of Clients receipt of any new assets after the filing of the bankruptcy including, but not
limited to, causes of action and lawsuits acquired against anyone for any purpose..

Itis Hereby Acknowledge and Agreed this 2 \ day of (Vs , __, 201 4

ATTORNEY

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